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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                            CIVIL MINUTES - TRIAL


 Case No.         2:18-cv-03739-PSG-E                                                                          Date       July 2, 2019
 Title:           Crystal Holmes v. Rosalina Harris et al

 Present: The Honorable            Philip S. Gutierrez , U.S. District Judge
                           Patricia Gomez                                                                    Marea Woolrich
                           Deputy Clerk                                                            Court Reporter/Recorder, Tape No.


                Attorneys Present for Plaintiff(s):                                                 Attorneys Present for Defendants:
                           Scott Menger
                           Caleb Mason                                                                       Andrew Pongracz

                              Day Court Trial         5th                                   Day Jury Trial
                                             st
           One day trial:           Begun (1 day);                 Held & Continued;          X      Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by                      Plaintiff and defendant
      Witnesses called, sworn and testified.                Exhibits identified.            Exhibits admitted.

      Plaintiff(s) rest.                                    Defendant(s) rest.
 X    Closing arguments made by                       X     plaintiff(s)           X      defendant(s).          X     Court instructs jury.
 X    Bailiff(s) sworn.                               X     Jury retires to deliberate.                                Jury resumes deliberations.
 X    Jury Verdict in favor of                        X     plaintiff(s)                  defendant(s) is read and filed.
 X    Jury polled.                                          Polling waived.
 X    Filed Witness & Exhibit Lists                   X     Filed jury notes.      X      Filed jury instructions.
      Judgment by Court for                                                               plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                           plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                         is             granted.           denied.             submitted.
      Motion for mistrial by                                                       is             granted.           denied.             submitted.
      Motion for Judgment/Directed Verdict by                                      is             granted.           denied.             submitted.
      Settlement reached and placed on the record.
 X    Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
      Case continued to                                                                       for further trial/further jury deliberation.
 X    Other:      Jury note #1, #2, and #3 received. Response #1 and #2 by the Court issued.
                  Plaintiff’s counsel to file a proposed judgment consistent with the verdict.

                                                                                                                        3         :          30

                                                                                   Initials of Deputy Clerk                            PG



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